                                  UNITED STATES DISTRICT COURT
                                         OFFICE OF THE CLERK
                                         DISTRICT OF KANSAS


       SKYLER B. O’HARA                                                        KIM LEININGER
           CLERK OF COURT                                                     CHIEF DEPUTY CLERK
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September 22, 2023


Courtney T Lacaillade (Email: CLacaillade@strucklove.com)
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Re: Baskin v. Thomas et al
USDC Kansas Case Number: 5:23-cv-3212-JWL
USDC Arizona Case Number: 2:21-cv-01890

Dear Counsel:
Please be advised that the above-named action has been transferred to the U.S. District Court for
the District of Kansas at Topeka, Kansas. We have assigned Civil Action Number 5:23-cv-3212-
JWL, assigned to the Honorable John W. Lungstrum, District Judge.


Our local rules and information regarding admission pro hac vice can be found at
www.ksd.uscourts.gov or by contacting Attorney Registration at (913) 735-2229.

Sincerely,


Skyler B. O’Hara, Clerk

By: s/J. Lolley
Deputy Clerk
